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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

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In re: : Chapter 11

QUIKSILVER, INC., ef al., Case No. 15-11880 (BLS)
Debtors’. : (Jointly Administered)

Related to Docket No. 223

ORDER GRANTING DEBTORS’ MOTION AN ORDER
PROVIDING FOR LIMITED RELIEF FROM THE AUTOMATIC STAY NUNC PRO
TUNC TO THE PETITION DATE TO BOARDRIDERS S.A, SOLELY FOR THE
PURPOSE OF ALLOWING DECELERATION OF THE OBLIGATIONS UNDER THE
NOTES

 

Upon the motion (the “Motion”)’ of the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) and upon consideration of the Motion of the Debtors for
and Order Granting Limited Relief from the Automatic Stay Nunc Pro Tunc to the Petition Date
Solely for the Purpose of Allowing Deceleration of the Obligations Under the Notes (the
“Motion”), a copy of which is attached to this Order as Exhibit 1, as agreed to by and between
Quiksilver, Inc. and Boardriders S.A.,” ((“Boardriders”) and together with Quiksilver, Inc., the
Indenture Trustee, and the Common Depository, the “Parties”), it is HEREBY ORDERED
THAT:

1. The Motion is GRANTED.

 

* The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
(8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’
corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.

> Capitalized terms used but not defined herein shall have the meanings assigned to such terms in the Motion.

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2. Boardriders, the Indenture Trustee, and the Common Depository are granted
limited relief from the automatic stay of § 362(a) of the Bankruptcy Code nunc pro tunc to the
Petition Date solely for the purpose of decelerating the obligations under the Notes.

3. The Parties are authorized to take all actions necessary to effectuate the relief
granted in this Order in accordance with the Motion.

4, Notwithstanding any of the Federal Rules of Bankruptcy Procedure to the
contrary, this Order shall take effect immediately upon entry.

5. This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Dated: Oey I L ors (ee CERN FPP
Wilmington, Delaware Cpt tines See L. Shgnnort

 

ef United States Bankruptcy Judge

 

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